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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 REALTIME DATA, LLC d/b/a IXO                        )
                                                     )
                       Plaintiff,                    )
                                                     ) Civil Action No. 6:10-CV-00493 LED
         v.                                          )
                                                     )
 METROPCS TEXAS, LLC ET AL.,                         )
                                                     )
                       Defendants.                   )



                  CLEARWIRE’S MOTION FOR SUMMARY JUDGMENT
                            OF NON-INFRINGEMENT

         Pursuant to 56 of the Federal Rules of Civil Procedure and the Court’s December 20,

 2011 Order (Doc. No. 206), Defendants Clearwire Corporation, Clearwire Communications

 LLC, and Clear Wireless LLC (“Clearwire”) move for summary judgment of non-infringement.

         I.     INTRODUCTION AND STATEMENT OF ISSUES

         This is an uncomplicated case of non-infringement. The Asserted Patents1 are directed to

 utilizing data compression, and Clearwire’s data service network does not use data compression.

 Specifically, Plaintiff Realtime Data, LLC (“Realtime”) claims that Clearwire infringes the

 Asserted Patents by its use of a Bytemobile product to support downlink data communications

 for data services. Yet, Clearwire does not use any data compression, including any Bytemobile




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   The “Asserted Patents” are: U.S. Pat. Nos. 6,604,158 (Asserted Claims: 1, 3-7, 9, 11-15);
 7,321,937 (Asserted Claims: 1, 5-8, 11, 14-19); 7,395,345 (Asserted Claims: 1, 3, 4, 6-8);
 7,415,530 (Asserted Claims: 1, 2, 16-21, 23); 7,161,506 (Asserted Claims: 91-95, 97, 99);
 7,352,300 (Asserted Claims: 19, 23-25, 28-30, 32, 33, 36, 42, 45-48, 52, 53, 55, 56, 59). In a
 letter dated December 27, 2011, Realtime notified Defendants that it was withdrawing all
 infringement claims with respect to Asserted Patent Nos. 6,601,104 and 7,378,992, and Claims
 86, 89, 90, 96, and 98 of U.S. Patent No. 7,161,506.



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 products, to support downlink data communications for data services. Simply, Clearwire does

 not infringe the Asserted Patents; as such, the Court should grant summary judgment.

         II.     STATEMENT OF UNDISPUTED MATERIAL FACTS

         The relevant undisputed materials facts (“UMF”) are:

         1.      For each Asserted Patent, Realtime’s May 3, 2011 Infringement Contentions

 accuse Clearwire of either “operating a data network with compression servers in order to

 support downlink data communications for data services,” see Ex. A, Realtime’s Infringement

 Contentions Ex. 7, Appendices 7-C at 1, 7-D at 1, 7-E at 1, 7-F at 1, 7-G at 1, or “operating a

 data network with compression servers and base station equipment in order to support downlink

 data communications for data services.” Id. at Ex. 7, Appendix 7-B at 1.2

         2.      For each Asserted Patent, Realtime’s Infringement Contentions allege that

 Clearwire operates “Bytemobile compression servers and similar compression servers used to

 compress data for downlink data communications.” Ex. A, at Ex. 7, Appendices 7-B at 1, 7-C at

 1, 7-D at 1, 7-E at 1, 7-F at 1, 7-G at 1.

         3.      Clearwire has not used and does not use data compression hardware or software

 developed by, provided by or otherwise sourced from Bytemobile in order to support downlink

 data communications for data services in its data network. Ex. B, Houston Decl. ¶ 7.

         4.      Bytemobile itself confirmed that “Bytemobile has never sold any of its products

 or services to Clearwire” and “Clearwire has never been a Bytemobile customer, nor does

 Clearwire have any current commercial relationship with Bytemobile.”            Ex. C, CRWR

 00002083, Bytemobile Decl. ¶ 2.


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   On December 30, 2011, Realtime filed a motion for leave to amend its infringement
 contentions. Doc. No. _-. Clearwire opposes this motion as untimely and lacking a good-faith
 basis. Unless this Court grants Realtime’s belated motion to amend, Realtime’s final contentions
 are the contentions Realtime served on May 3, 2011. See P.R. 3-6.

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         5.    On September 1, 2011, Clearwire provided the Bytemobile declaration to

 Realtime. Ex. D, Email dated 9-1-2011 from Redmond to Heptig.

         6.    On June 29, 2011, Realtime served a subpoena on Bytemobile.              To date,

 Bytemobile has not produced a single document evidencing that Bytemobile sold any of its

 products or services to Clearwire. Ex. E, Notice of Subpoena to Bytemobile.

         7.    Clearwire has not used and does not use any data compression hardware or

 software in order to support downlink data communications for data services in its data network.

 Ex. B, Houston Decl. ¶ 7.

         8.    Clearwire has, since May 2011, repeatedly offered witnesses, produced

 documents, and even provided third-party declarations to establish that Clearwire does not use

 any products, including Bytemobile products, to compress data in its network to support

 downlink data communications for data services. Ex. F, Ltr. dated 6-3-2011 from Redmond to

 Gardner; Ex. G, Ltr. dated 10-31-2011 from Redmond to Heptig.

         9.    In response to a subpoena served by Realtime on or about July 8, 2011, Ortiva

 Wireless, Inc. stated that “Clearwire is not using any Ortiva equipment or software on its

 network, and Ortiva has not sold any equipment or software to Clearwire for use on its network.”

 Ex. H, Ortiva Objections to Subpoena dated 7-26-2011, at 3-17.

         10.   Mobixell itself confirmed that “Mobixell has never provided or supplied any of its

 products or services to Clearwire.” Ex. I, CRWR 00002115, Nir Hod Decl. ¶ 2.

         11.   On or about July 8, 2011, Realtime served subpoenas on Ortiva and Mobixell. To

 date, neither company has produced a single document evidencing that any products were sold to

 Clearwire. Ex. J, Notice of Subpoena to Ortiva; Ex. K, Notice of Subpoena to Mobixell.




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         III.   LEGAL AUTHORITY

         “The Patent Rules require parties to evaluate their infringement contentions early in

 litigation, so ‘the case takes a clear path, focusing discovery on building precise final

 infringement contentions and narrowing issues for Markman, summary judgment, trial, and

 beyond.’” Linex Tech. Inc. v. Belkin Int’l, Inc., 628 F. Supp. 2d 703, 707 (E.D. Tex. 2008)

 (citing Connectel, LLC v. Cisco Systems, Inc., 391 F. Supp. 2d 526, 527 (E.D. Tex. 2005)).

         To promote judicial economy and avoid unnecessary trial, a court must grant summary

 judgment when the pleadings, the discovery and disclosure materials on file, and any affidavits

 show that there is no genuine issue of material fact and that the moving party is entitled to

 judgment as a matter of law. Fed. R. Civ. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317, 322

 (1986). “If the moving party has made an initial showing that there is no evidence to support the

 nonmoving party’s case, the party opposing the motion must assert competent summary

 judgment evidence of the existence of a genuine fact issue.” GTX Corp. v. Kofax Image Prods.,

 571 F. Supp. 2d 742, 745 (E.D. Tex. 2008) (citing Matsushita Elec. Indus. Co. v. Zenith Radio,

 475 U.S. 574, 587 (1986)). Mere conclusory allegations, unsubstantiated assertions, improbable

 inferences, and unsupported speculation are not competent summary judgment evidence. Id.

         IV.    ARGUMENT

         The very purpose of Infringement Contentions is to narrow the issues for case milestones,

 such as summary judgment. Linex Tech. Inc., 628 F. Supp. 2d at 707. Here, Realtime’s

 Infringement Contentions accuse Clearwire of operating a data network with Bytemobile

 compression servers and similar compression products in order to support downlink data

 communications for data services.      UMF 1, 2.     However, Realtime’s claims fail because

 Clearwire has not purchased Bytemobile products and is not a Bytemobile customer.




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         Since May 2011, Clearwire has told Realtime that it does not use Bytemobile products in

 order to support downlink data communications for data services in its data network. UMF 8.

 Clearwire repeatedly offered witnesses, produced documents, and even provided a third-party

 declaration to establish that Clearwire has not purchased Bytemobile products.           UMF 8.

 Realtime’s only communicated basis for its infringement claims was that a separate corporate

 entity, Sprint, is a Bytemobile customer and Sprint uses Clearwire’s 4G network to support its

 customers. In light of this, Clearwire made additional strides to convince Realtime to dismiss its

 claims by obtaining a declaration from Bytemobile. Bytemobile confirmed that “Bytemobile has

 never sold any of its products or services to Clearwire” and “Clearwire has never been a

 Bytemobile customer, nor does Clearwire have any current commercial relationship with

 Bytemobile.” UMF 4. This declaration was provided to Realtime on September 1, 2011. UMF

 5. Additionally, Realtime served a subpoena on Bytemobile on June 29, 2011. UMF 6. To date,

 Bytemobile has not produced a single document evidencing that Bytemobile sold any of its

 products or services to Clearwire. UMF 6.

         Importantly, Clearwire does not use any products to compress data in its network to

 support downlink data communications for data services. UMF 7.3 About six months ago,

 Realtime communicated that, in addition to Bytemobile, it thought Clearwire infringed the

 Asserted Patents by using other data compression products. For example, Realtime alleged

 Clearwire used Mobixell and Ortiva products4 in its data services network.5 During July, August



 3
   Since May 2011, Clearwire repeatedly offered witnesses to prove this. UMF 8. Realtime has
 only recently requested depositions since the Court granted Clearwire’s request to file for early
 summary judgment.
 4
   Very recently, Realtime focused on the purported testing of Ortiva’s products. This is contrary
 to Realtime’s reiterated allegations of infringement set forth in its Infringement Contentions,
 discovery requests and correspondence. Moreover, any such testing could not infringe the
 asserted patents by using compression products to support downlink data communications in its
 accused data network.

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 and September, both Clearwire and these companies confirmed to Realtime that Clearwire did

 not use these products to support downlink data communications its data network. Specifically,

 Ortiva stated that “Clearwire is not using any Ortiva equipment or software on its network, and

 Ortiva has not sold any equipment or software to Clearwire for use on its network.” UMF 9.

 Similarly, Mobixell confirmed that “Mobixell has never provided or supplied any of its products

 or services to Clearwire.” UMF 10. In fact, in response to Realtime’s subpoenas served in July,

 neither Ortiva nor Mobixell produced a single document evidencing that any products were sold

 to Clearwire. UMF 11. Since that time, Realtime has gone silent. Realtime elected not to

 conduct follow-up discovery to independently confirm or dispute these facts or compel

 additional information. Realtime cannot circumvent summary judgment through unsupported

 inferences and speculation.    GTX, 571 F. Supp. 2d at 745.      Because it is undisputed that

 Clearwire does not use any data compression products to support downlink data communications

 for data services, the Court should grant summary judgment.

         V.     CONCLUSION

         Clearwire has not used and does not use any data compression hardware or software in

 order to support downlink data communications for data services in its data network and,

 therefore, does not infringe the Asserted Patents. Accordingly, Clearwire is entitled to summary

 judgment as a matter of law.




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   Realtime also raised the possibility that Clearwire’s network allegedly performed data
 compression by using Sandvine and Vantrix products. However, Clearwire and Sandvine both
 confirmed that the Sandvine products used by Clearwire do not use compression to support
 downlink data communications for data services. Clearwire also confirmed it does not use
 Vantrix products.

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                                       Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 6th day of January, 2012, I electronically
 filed the foregoing CLEARWIRE’S MOTION FOR SUMMARY JUDGMENT OF NON-
 INFRINGEMENT and that all counsel of record who are deemed to have consented to
 electronic service are being served with a copy of the foregoing, via the Court’s CM/ECF system
 per Local Rule CV-5(a)(3).

                                                /s/Megan J. Redmond
                                                Megan J. Redmond




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